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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                       )
 CENTRE GMBH and WEST PUBLISHING                  )
 CORPORATION,                                     )   C.A. No. 20-613-LPS
                                                  )
                Plaintiffs/Counterdefendants,     )   JURY TRIAL DEMANDED
                                                  )
        v.                                        )
                                                  )
 ROSS INTELLIGENCE INC.,                          )
                                                  )
                Defendants/Counterclaimant.       )

                                       NOTICE OF SERVICE

       The undersigned counsel hereby certifies that a true and correct copy of the following

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       DEFENDANT/COUNTERCLAIMANT ROSS INTELLIGENCE INC.’S
       SECOND SET OF REQUESTS FOR PRODUCTION (NOS. 104-141)

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